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                                         SCHEDULE 1


                                   BIDDING PROCEDURES




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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

                                      )
    In re:                            ) Chapter 11
                                      )
    CENTER CITY HEALTHCARE, LLC d/b/a ) Case No. 19-11466 (KG)
    HAHNEMANN UNIVERSITY HOSPITAL, et )
    al.,1                             ) Jointly Administered
                                      )
                        Debtors.      )
                                      )

                                            BIDDING PROCEDURES

        On July 19, 2019, the United States Bankruptcy Court for the District of Delaware
(the “Bankruptcy Court”) entered the Order (I) Establishing Bidding Procedures and Granting
Related Relief and (II) Approving the Sale of the Debtors’ Resident Program Assets Free and
Clear of Liens, Claims, Encumbrances, and Interests [Docket No. [●]] (the “Bidding
Procedures Order”),2 by which the Bankruptcy Court approved the following procedures (the
“Bidding Procedures”). These Bidding Procedures set forth the process by which the Debtors,
in consultation with the Official Committee of Unsecured Creditors (the “Committee”) as set
forth herein, are authorized to conduct an auction (the “Auction”) for the sale (the “Sale”) of the
resident program assets related to the operation of Hahnemann University Hospital, including:
(a) National Provider Identifiers (general and psych) and Medicare provider number and
agreement, (b) the Pennsylvania Department of Health license to operate an acute care hospital,
and (c) the Hahnemann training programs for Residents (collectively, the “Residents Program
Assets”), in accordance with and as described in that certain agreement (the “Stalking Horse
Sale Agreement”), dated as of July 19, 2019, by and among Center City Healthcare, LLC d/b/a
Hahnemann University Hospital and Tower Health (the “Stalking Horse Bidder”), or in
accordance with the terms of such higher and better offer as determined by the Debtors, in
consultation with the Committee, to be the Successful Bidder (defined below).




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             The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification
             number, are: Center City Healthcare, LLC (3341), Philadelphia Academic Health System, LLC (8681), St.
             Christopher’s Healthcare, LLC (8395), Philadelphia Academic Medical Associates, LLC (8165), HPS of
             PA, L.L.C. (1617), SCHC Pediatric Associates, L.L.C. (0527), St. Christopher’s Pediatric Urgent Care
             Center, L.L.C. (6447), SCHC Pediatric Anesthesia Associates, L.L.C. (2326), StChris Care at Northeast
             Pediatrics, L.L.C. (4056), TPS of PA, L.L.C. (4862), TPS II of PA, L.L.C. (5534), TPS III of PA, L.L.C.
             (5536), TPS IV of PA, L.L.C. (5537), and TPS V of PA, L.L.C. (5540). The Debtors’ mailing address is
             230 North Broad Street, Philadelphia, Pennsylvania 19102.
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             All capitalized terms used but not otherwise defined herein shall have the meaning ascribed to them in the
             Bidding Procedures Order.



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A.           Submissions to the Debtors and the Committee.

        All submissions to the Debtors and the Committee required to be made under these
Bidding Procedures must be directed to each the following persons unless otherwise provided
(collectively, the “Notice Parties”):

             a.         Debtors. Center City Healthcare, LLC, 230 North Broad Street, Philadelphia,
                        Pennsylvania, Attn: Allen Wilen, Chief Restructuring Officer.

             b.         Debtors’ Counsel. Saul Ewing Arnstein & Lehr LLP, 1201 N. Market Street,
                        Suite 2300, Wilmington, Delaware 19801, Attn: Mark Minuti
                        (mark.minuti@saul.com).

             c.         Debtors’ Investment Banker. SSG Advisors, LLC, Five Tower Bridge, 300
                        Barr Harbor Drive, West Conshohocken, PA 19428 Suite 420, Attn: J. Scott
                        Victor (jsvictor@ssgca.com); Teresa Kohl (tkohl@ssgca.com); and Craig
                        Warznak (cwarznak@ssgca.com).

             d.         Committee’s Counsel. Sills Cummis & Gross P.C., One Riverfront Plaza,
                        Newark, NJ 07102, Attn: Andrew Sherman (asherman@sillscummis.com) and
                        Boris Mankovetskiy (bmankovetskiy@sillscummis.com).

B.           Potential Bidders.

       The Debtors and their financial advisors have identified, and may in the future, in
consultation with the Committee, identify, parties they believe potentially may be interested in
consummating (and potentially may have the financial resources necessary to consummate) a
competing transaction. To participate in the bidding process or otherwise be considered for any
purpose under these Bidding Procedures, a person or entity interested in consummating a Sale
(each, a “Potential Bidder”), other than the Stalking Horse Bidder, must deliver or have
previously delivered, if determined to be necessary by the Debtors:

             a.         an executed confidentiality agreement on terms acceptable to the Debtors, in
                        consultation with the Committee (a “Confidentiality Agreement”), to the extent
                        not already executed; and

             b.         the most current audited and latest unaudited financial statements (collectively,
                        the “Financials”) of the Potential Bidder (or, if the Potential Bidder is an entity
                        formed for the purpose of acquiring the Residents Program Assets, (i) Financials
                        of the equity holder(s) of the Potential Bidder or such other form of financial
                        disclosure as is acceptable to the Debtors and their advisors, in consultation with
                        the Committee, (ii) a written commitment acceptable to the Debtors and their
                        advisors, in consultation with the Committee, of the equity holder(s) of the
                        Potential Bidder to be responsible for the Potential Bidder’s obligations in
                        connection with the applicable Sale, and (iii) copies of any documents evidencing
                        any financing commitments necessary to consummate the transaction.



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C.           Qualified Bidders.

             a.         A “Qualified Bidder” is a Potential Bidder: (i) whose Financials, or the
                        Financials of its equity holder(s), as applicable, demonstrate the financial
                        capability to consummate the Sale, as determined by the Debtors, in consultation
                        with the Committee; and (ii) whose Bid (as defined below) is a Qualified Bid (as
                        defined below). On or before the date that is one (1) business day after the Bid
                        Deadline (defined below), the Debtors’ advisors will notify each Potential Bidder
                        in writing whether such Potential Bidder is a Qualified Bidder. The Stalking
                        Horse Bidder shall be deemed a Qualified Bidder at all times. MidCap Funding
                        IV Trust (“Midcap”), solely to the extent it seeks to credit bid, shall be deemed a
                        Qualified Bidder at all times; provided that MidCap Funding IV Trust’s right to
                        credit bid shall be subject to the provisions set forth in the Bidding Procedures
                        Order and these Bidding Procedures.

             b.         If any Potential Bidder is determined by the Debtors, in consultation with the
                        Committee, not to be a Qualified Bidder, the Debtors will refund such Qualified
                        Bidder’s Deposit (as defined below) and all accumulated interest thereon on or
                        within three (3) business days after the Bid Deadline.

             c.         Between the date that the Debtors notify a Potential Bidder that it is a Qualified
                        Bidder and the Auction, the Debtors may discuss, negotiate, or seek clarification
                        of any Qualified Bid from a Qualified Bidder. Without the written consent of the
                        Debtors, in consultation with the Committee, a Qualified Bidder may not modify,
                        amend, or withdraw its Qualified Bid, except for proposed amendments to
                        increase the consideration contemplated by, or otherwise improve the terms of,
                        the Qualified Bid, during the period that such Qualified Bid remains binding as
                        specified in these Bidding Procedures; provided, however, that any Qualified Bid
                        may be improved at the Auction as set forth herein. Any improved Qualified Bid
                        must continue to comply with the requirements for Qualified Bids set forth in
                        these Bidding Procedures.

             d.         Any disputes related to these Bidding Procedures, including whether a Bid
                        constitutes a Qualified Bid, shall be resolved by the Bankruptcy Court.

D.           Due Diligence.

             a.         Diligence Provided to Potential Bidders.

        Only (a) the Stalking Horse Bidder, and (b) Potential Bidders that have entered into a
Confidentiality Agreement shall be eligible to receive due diligence information related to the
Residents Program Assets. No Potential Bidder will be permitted to conduct any due
diligence without entering into a Confidentiality Agreement. The Debtors will provide to
each Potential Bidder that has entered into a Confidentiality Agreement reasonable due diligence
information, as requested by such Potential Bidder in writing, as soon as reasonably practicable
after such request. For all Potential Bidders other than the Stalking Horse Bidder, the due



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diligence period will end on the Bid Deadline and subsequent to the Bid Deadline, the Debtors
shall have no obligation to furnish any due diligence information.

        The Debtors shall not furnish any confidential information relating to the Residents
Program Assets, the Debtors’ liabilities, or the Sale (“Confidential Sale Information”) to any
person, except to a Potential Bidder that has entered into a Confidentiality Agreement or to such
Potential Bidder’s duly-authorized representatives, in each case, to the extent provided in the
applicable Confidentiality Agreement; provided, however, that nothing herein shall limit the
Debtors’ ability to furnish Confidential Sale Information to the professional advisors of any
official committee appointed in the Debtors’ chapter 11 cases on a professionals’ eyes only basis.
The Debtors and their advisors shall coordinate all reasonable requests from Potential Bidders
for additional information and due diligence access; provided that the Debtors, in consultation
with the Committee, may decline to provide such information to Potential Bidders who, at such
time and in the Debtors’ reasonable business judgment have not established, or who have raised
doubt, that such Potential Bidder intends in good faith to, or has the capacity to, consummate the
Sale.

        The Debtors also reserve the right to withhold from Potential Bidders any diligence
materials that the Debtors, in consultation with the Committee, determine are sensitive or
otherwise not appropriate for disclosure to a Potential Bidder who the Debtors, in consultation
with the Committee, determine is a competitor of the Debtors or is affiliated with any competitor
of the Debtors. Neither the Debtors nor their representatives shall be obligated to furnish
information of any kind whatsoever to any person that is not approved by the Debtors, in
consultation with the Committee, as a Potential Bidder; provided, however, that, subject to the
limitations set forth in the immediately preceding paragraph, the Debtors may furnish
information to MidCap and the Committee.

       All due diligence requests must be directed by email to SSG Advisors, LLC Attn: J.
Scott Victor (jsvictor@ssgca.com); Teresa Kohl (tkohl@ssgca.com); and Craig Warznak
(cwarznak@ssgca.com); or by phone to (610) 940-3615.

             b.         Diligence Provided by Potential Bidders.

        Each Potential Bidder shall comply with all reasonable requests for additional
information and due diligence access requested by the Debtors or their advisors regarding the
ability of the Potential Bidder to consummate the Sale. Failure by a Potential Bidder to comply
with such reasonable requests for additional information and due diligence access may be a basis
for the Debtors, in consultation with the Committee, to determine that such Potential Bidder is
not a Qualified Bidder or that a bid made by such Potential Bidder is not a Qualified Bid.

        The Debtors and each of their respective advisors and representatives shall be obligated
to maintain in confidence any confidential information in accordance with any applicable
confidentiality agreement, except as otherwise set forth in these Bidding Procedures. Each
recipient of confidential information agrees to use, and to instruct their advisors and
representatives to use, such confidential information only in connection with the evaluation of
Bids (as defined below) during the bidding process or otherwise in connection with the chapter
11 cases or in accordance with the terms of any applicable confidentiality agreement.


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       Notwithstanding the foregoing and the provisions contained in any applicable
Confidentiality Agreement, the Debtors and the Debtors’ advisors may disclose confidential
information: (a) with the prior written consent of such bidder and the Debtors; (b) to the
applicable bidder; (c) to the professional advisors of any official committee appointed in the
Debtors’ chapter 11 cases, and (d) as otherwise required or allowed by any applicable
confidentiality agreement with respect to a particular bidder or other agreement, law, court or
other governmental order, or regulation, including, as appropriate, to regulatory agencies.

E.           Bid Requirements.

        A proposal, solicitation, or offer (each, a “Bid”) by a Qualified Bidder that is submitted
in writing and satisfies each of the following requirements (collectively, the “Bid
Requirements”), as determined by the Debtors, in consultation with the Committee, in their
reasonable business judgment, shall constitute a “Qualified Bid.” For the avoidance of doubt,
notwithstanding the following, the Stalking Horse Sale Agreement will be deemed a Qualified
Bid for all purposes.

             a.         Assets. Each Bid must provide for the purchase of all or substantially all of the
                        Residents Program Assets, and must clearly state which assets the Qualified
                        Bidder is agreeing to purchase.

             b.         Purchase Price. Each Bid must clearly set forth the purchase price to be paid
                        (the “Purchase Price”). The Purchase Price must be in cash consideration and
                        must equal or exceed $7,825,000 (i.e., the sum of (i) the Base Purchase Price set
                        forth in the Stalking Horse Sale Agreement and (ii) the Break-Up Fee) and (iii) a
                        $100,000 incremental amount (a “Minimum Bid”).

             c.         Deposit. With its Bid, each Potential Bidder must submit by wire transfer of
                        immediately available funds, a cash deposit in the amount equal to ten (10)
                        percent of the aggregate cash Purchase Price set forth in the Bid, to be held in an
                        interest-bearing escrow account to be identified and established by the Debtors
                        (the “Deposit”). Within three (3) business days after the conclusion of any
                        Auction, the Successful Bidder and Backup Bidder shall submit by wire transfer
                        of immediately available funds, a supplemental cash deposit in an amount that,
                        when added to the amount of the Deposit, is equal to ten (10) percent of the
                        aggregate cash Purchase Price set forth in their respective Successful Bid and
                        Backup Bid. The foregoing notwithstanding, the Stalking Horse Bidder shall not
                        be required to submit any Deposit.

             d.         Residents. Each Bid must specify the Potential Bidder’s proposed treatment with
                        respect to Residents, including whether and to what extent Residents will be
                        offered placement with the Potential Bidder and on what terms. Each Bid must
                        further provide a description of the Potential Bidder’s accreditation status with the
                        Accreditation Council on Graduate Medical Education, including a description of
                        accredited residency and fellowship programs currently offered by the Potential
                        Bidder and/or expected to be offered in the future.



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             e.         Same or Better Terms. Each Bid must be on terms that are not more
                        burdensome to the Debtors than the terms of the Stalking Horse Sale Agreement,
                        as determined by the Debtors, in consultation with the Committee. Each Bid must
                        include duly executed, non-contingent transaction documents necessary to
                        effectuate the Sale and shall include a schedule of executory contracts proposed to
                        be assumed by the Debtors and assigned to the Qualified Bidder (“Assumed
                        Contracts”), and a copy of the Stalking Horse Sale Agreement clearly marked to
                        show all changes requested by the Qualified Bidder, including those related to the
                        respective Purchase Price and assets to be acquired by such Qualified Bidder, as
                        well as all other material documents integral to such bid and a written
                        commitment demonstrating to the satisfaction of the Debtors, in consultation with
                        the Committee, that the Qualified Bidder will be able to close the transaction
                        proposed in its Bid on the terms and conditions set forth therein (the “Qualified
                        Bid Documents”).

             f.         Contingencies; No Financing or Diligence Outs. A Bid shall not be
                        conditioned on (i) the Potential Bidder obtaining financing, (ii) approval of the
                        Potential Bidder’s shareholders, board of directors or other internal approval, or
                        (iii) the outcome or completion of due diligence by the Potential Bidder.
                        Notwithstanding the foregoing, a Bid may be subject to (i) the accuracy at the
                        closing of the Sale of specified representations and warranties, (ii) or the
                        satisfaction at the closing of the Sale of specified conditions, which shall not be
                        more burdensome to the Debtors, as determined in the Debtors’ business
                        judgment, in consultation with the Committee, than those set forth in the Stalking
                        Horse Sale Agreement.

             g.         Identity. Each Bid must fully disclose the identity of each entity that will be
                        bidding or otherwise participating in connection with such Bid (including each
                        equity holder or other financial backer of the Potential Bidder if such Potential
                        Bidder is an entity formed for the purpose of consummating the Sale), and the
                        complete terms of any such participation. Under no circumstances shall any
                        undisclosed principals, equity holders, or financial backers be associated with any
                        Bid. Each Bid must also include contact information for the specific persons and
                        counsel whom the Debtors and their advisors should contact regarding such Bid.

             h.         Demonstrated Financial Capacity. A Qualified Bidder must have, in the
                        Debtors’ business judgment, as determined in consultation with the Committee,
                        the necessary financial capacity to consummate the proposed transactions
                        required by its Bid and provide adequate assurance of future performance under
                        all contracts proposed to be assumed by such Bid. Each Bid must be
                        accompanied by reasonable evidence of the Qualified Bidder’s ability to operate
                        the business related to the Residents Program Assets and include a packet of
                        information, including financial information, that will be provided to the non-
                        Debtor counterparties to Assumed Contracts sufficient to demonstrate adequate
                        assurance of future performance.




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             i.         Committed Financing. To the extent that a Bid is not accompanied by evidence
                        of the Potential Bidder’s capacity to consummate the sale set forth in its Bid with
                        cash on hand, each Bid must include executed unconditional committed financing
                        from a qualified source documented to the satisfaction of the Debtors, in
                        consultation with the Committee, which demonstrates that the Potential Bidder
                        has received sufficient debt and/or equity funding commitments to satisfy the
                        Potential Bidder’s Purchase Price and other obligations under its Bid. Such
                        funding commitments or other financing must be unconditional and must not be
                        subject to any internal approvals, syndication requirements, diligence, or credit
                        committee approvals, and shall have covenants and conditions acceptable to the
                        Debtors, in consultation with the Committee,.

             j.         Binding and Irrevocable. A Qualified Bid must include a signed writing stating
                        that the Qualified Bid is irrevocable until the later of (i) two (2) business days
                        after the closing of a Sale to another Qualified Bidder, and (ii) thirty (30) days
                        after the conclusion of the Sale Hearing (as defined below).

             k.         Expenses; Disclaimer of Fees. Each Bid (other than the Stalking Horse Sale
                        Agreement) must disclaim any right to receive a break-up fee, expense
                        reimbursement, termination fee, or any other similar form of compensation. For
                        the avoidance of doubt, no Potential Bidder (other than the Stalking Horse
                        Bidder) will be permitted to request, nor be granted by the Debtors, at any time,
                        whether as part of the Auction or otherwise, a break-up fee, expense
                        reimbursement, termination fee, or any other similar form of compensation, and
                        by submitting its Bid is agreeing to refrain from and waive any assertion or
                        request for reimbursement on any basis, including under section 503(b) of the
                        Bankruptcy Code.

             l.         Authorization. Each Bid must contain evidence that the Potential Bidder has
                        obtained authorization or approval from its board of directors (or a comparable
                        governing body acceptable to the Debtors, in consultation with the Committee)
                        with respect to the submission of its Bid and the consummation of the transactions
                        contemplated in such Bid.

             m.         As-Is, Where-Is. Each Bid must include a written acknowledgement and
                        representation that the Potential Bidder: (i) has had an opportunity to conduct any
                        and all due diligence regarding the Residents Program Assets prior to submitting
                        the Bid; (ii) has relied solely upon its own independent review, investigation,
                        and/or inspection of any documents and/or the Residents Program Assets in
                        making its Bid; and (iii) did not rely upon any written or oral statements,
                        representations, promises, warranties, or guaranties whatsoever, whether express,
                        implied by operation of law, or otherwise, regarding the Residents Program
                        Assets or the completeness of any information provided in connection therewith
                        or the Auction, except as expressly stated in the Bid.




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             n.         Adherence to Bid Procedures. By submitting its Bid, each Potential Bidder is
                        agreeing to abide by and honor the terms of these Bidding Procedures and agrees
                        not to submit a Bid or seek to reopen the Auction after conclusion of the Auction.

             o.         Regulatory Approvals and Covenants. A Bid must set forth each regulatory
                        and third-party approval to consummate the Sale and the time period within which
                        the Potential Bidder expects to receive such regulatory and third-party approvals
                        (and in the case that receipt of any such regulatory or third-party approval is
                        expected to take more than thirty (30) days following execution and delivery of
                        the asset purchase agreement, those actions the Qualified Bidder will take to
                        ensure receipt of such approvals as promptly as possible).

             p.         Consent to Jurisdiction. Each Potential Bidder must submit to the jurisdiction
                        of the Bankruptcy Court and waive any right to a jury trial in connection with any
                        disputes relating to Debtors’ qualification of Bids, the Auction, the construction
                        and enforcement of these Bidding Procedures, the Sale documents, and the
                        closing of the Sale, as applicable.

             q.         Bid Deadline. Each Bid must be transmitted via email (in .pdf or similar format)
                        so as to be actually received on or before 4:00 p.m. (prevailing Eastern Time) on
                        August 5, 2019 (the “Bid Deadline”).

       The Debtors reserve the right, in consultation with the Committee, to work with any
Potential Bidder in advance of the Auction to cure any deficiencies in a Bid that is not initially
deemed to be a Qualified Bid.

F.           Right to Credit Bid.

        At the Auction, subject to section 363(k) of the Bankruptcy Code, any Qualified Bidder
who has a valid and perfected lien on all of the Resident Program Assets (a “Secured Creditor”)
shall have the right, subject in all respects to the Bankruptcy Code and other applicable law (and
the rights of the Committee and other parties in interest to object or challenge such creditor’s lien
thereunder (a “Challenge”)) to credit bid all or a portion of the value of such Secured Creditor’s
claims within the meaning of section 363(k) of the Bankruptcy Code, unless otherwise ordered
by the Bankruptcy Court for cause. In the event that the Committee or another party in interest
Challenges a creditor’s lien, the approval of a Successful Bid by such creditor that includes a
credit bid shall be contingent upon a final determination that such creditor’s lien is valid and
perfected. If such creditor’s lien is successfully Challenged, or otherwise determined not to be
valid and perfected, such creditor shall pay the credit bid portion of its Bid in cash as the closing
of the Sale.

       In the event of a competing Qualified Bid, the Stalking Horse Bidder will be entitled, but
not obligated, to submit overbids and will be entitled in any such overbids to include all or any
portion of the Break-Up fee in lieu of cash.

      Credit bids, if any, by Secured Creditors will not impair or otherwise affect the Stalking
Horse Bidder’s entitlement to the Break-Up Fee granted under the Bidding Procedures Order.


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Any credit bid shall include a cash component sufficient to satisfy in full all costs of sale,
including the Break-Up Fee.

G.           Auction.

       If, prior to the Bid Deadline, the Debtors receive a Qualified Bid, other than the Stalking
Horse Sale Agreement, the Debtors will conduct an Auction to determine the Successful Bidder.
By 6:00 p.m. on the date of the Bid Deadline, the Debtors shall notify the Stalking Horse Bidder
if one or more Qualified Bids were received prior to the Bid Deadline. If the Debtors do not
receive a Qualified Bid (other than the Stalking Horse Sale Agreement) prior to the Bid
Deadline, the Debtors will not conduct an Auction and shall designate the Stalking Horse
Bidder’s Bid as the Successful Bid.

        On the date that is one (1) day after the Bid Deadline, the Debtors will notify each
Qualified Bidder of the highest or otherwise best Qualified Bid, as determined in the Debtors’
business judgment, in consultation with the Committee (the “Baseline Bid”), and provide copies
of all Qualified Bid Documents supporting the Baseline Bid and each other Qualified Bid to each
Qualified Bidder. The determination of which Qualified Bid constitutes the Baseline Bid and
which Qualified Bid constitutes the Successful Bid shall take into account any factors the
Debtors, in consultation with the Committee, reasonably deem relevant to the value of the
Qualified Bid to the Debtors’ estates, and may include, among other things: (a) the number, type,
and nature of any changes to the Stalking Horse Sale Agreement, if any, requested by the
Qualified Bidder, including the type and amount of Residents Program Assets sought to be
acquired and obligations sought to be assumed in the Qualified Bid; (b) the amount and nature of
the total consideration; (c) the likelihood of the Qualified Bidder’s ability to close the applicable
Sale and the timing thereof; (d) the net economic effect of any changes to the value to be
received by the Debtors’ estates from the transaction contemplated by the Qualified Bid
Documents; and (e) the impact on Residents (collectively, the “Bid Assessment Criteria”).
Only the Stalking Horse Bidder and other Qualified Bidders will be entitled to make any
subsequent bids at the Auction. At least one (1) day prior to the Auction, each Qualified Bidder
who has timely submitted a Qualified Bid must inform the Debtors and the Committee whether it
intends to attend the Auction and all Qualified Bidders wishing to attend the Auction must have
at least one individual representative with authority to bind such Qualified Bidder in attendance
at the Auction in person.

        The Auction, if necessary, will be conducted at the offices of Saul Ewing Arnstein &
Lehr LLP, Centre Square West, 1500 Market Street, 38th Floor, Philadelphia, Pennsylvania
19102 on August 7, 2019 at 10:00 a.m. (prevailing Eastern Time), or at such other time and
location as designated by the Debtors. The Auction, if necessary, shall be conducted in a timely
fashion according to the following procedures:

             a.         The Debtors Shall Conduct the Auction.

        The Debtors and their professionals shall direct and preside over the Auction, in
consultation with the Committee as applicable. At the start of the Auction, the Debtors shall
describe the terms of the Baseline Bid. All incremental Bids made thereafter shall be Overbids
(as defined below) and shall be made and received on an open basis, and all material terms of


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each Overbid shall be fully disclosed to all other Qualified Bidders who submitted Bids. The
Debtors shall maintain a written transcript of all Bids made and announced at the Auction,
including the Baseline Bid, all applicable Overbids, and the Successful Bid.

       The Auction will be conducted openly and the Committee and all creditors will be
permitted to attend. The Qualified Bidders, including the Stalking Horse Bidder, may appear at
the Auction in person or through duly authorized representatives.

             b.         Terms of Overbids.

       “Overbid” means any bid made at the Auction by a Qualified Bidder subsequent to the
Debtors’ announcement of the Baseline Bid. Each Overbid must comply with the following
conditions:

                        (a)   Minimum Overbid Increment. The initial Overbid, if any, shall provide
                              for total consideration to the Debtors with a value that exceeds the value
                              of the consideration under the Baseline Bid by an incremental amount that
                              is not less than the sum of $100,000 (a “Minimum Overbid Increment”).

                              Additional consideration in excess of the amount set forth in the respective
                              Baseline Bid must include: (1) cash or (2) in the case of a Bid by a
                              Secured Creditor, a credit bid of up to the full amount of such secured
                              creditors’ allowed secured claim, subject to section 363(k) of the
                              Bankruptcy Code and any other restrictions set forth in the Bidding
                              Procedures Order or these Bidding Procedures (including the requirement
                              of a cash component sufficient to pay all costs of sale including the Break-
                              Up Fee).

                        (b)   Conclusion of Each Overbid Round. Upon the solicitation of each
                              round of applicable Overbids, the Debtors may, in consultation with the
                              Committee, announce a deadline (as the Debtors may, in their business
                              judgment, extend from time to time, the “Overbid Round Deadline”) by
                              which time any Overbids must be submitted to the Debtors and the
                              Committee.

                        (c)   Overbid Alterations. An applicable Overbid may contain alterations,
                              modifications, additions, or deletions of any terms of the Bid no less
                              favorable to the Debtors’ estates than any prior Bid or Overbid, as
                              determined in the Debtors’ reasonable business judgment, in consultation
                              with the Committee, but shall otherwise comply with the terms of these
                              Bidding Procedures. Any Overbid must comply with the conditions for a
                              Qualified Bid.

                        (d)   Announcing Highest Bid. Subsequent to each Overbid Round Deadline,
                              the Debtors shall announce whether the Debtors, in consultation with the
                              Committee, have (i)in the initial Overbid round, identified an Overbid as
                              being higher or otherwise better than the Baseline Bid for the Residents
                              Program Assets, or (ii) in subsequent rounds, identified an Overbid as

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                              being higher or otherwise better than the Overbid previously designated by
                              the Debtors as the prevailing highest or otherwise best Bid for the
                              Residents Program Assets (the “Prevailing Highest Bid”). The Debtors
                              shall describe to all Qualified Bidders the material terms of any new
                              Overbid designated by the Debtors, in consultation with the Committee, as
                              the Prevailing Highest Bid as well as the value attributable by the Debtors,
                              in consultation with the Committee, to such Prevailing Highest Bid.

             c.         Consideration of Overbids.

         The Debtors reserve the right, in their reasonable business judgment, and in consultation
with the Committee, to adjourn the Auction one or more times to, among other things:
(i) facilitate discussions among the Debtors, the Committee, and any Qualified Bidders;
(ii) allow Qualified Bidders to consider how they wish to proceed; (iii) provide Qualified Bidders
the opportunity to provide the Debtors and the Committee with such additional evidence as the
Debtors, in their reasonable business judgment, in consultation with the Committee, may require,
including that the Qualified Bidder has sufficient internal resources or has received sufficient
non-contingent debt and/or equity funding commitments to consummate the proposed transaction
at the prevailing Overbid amount; and (iv) provide the Debtors with an opportunity to consider,
in consultation with the Committee, how to value each Overbid.

             d.         Closing the Auction.

                        (a)   The Auction shall continue until there is only one Bid that the Debtors
                              determine, in their reasonable business judgment, and in consultation with
                              the Committee, to be the highest or otherwise best Bid in accordance with
                              the Bid Assessment Criteria. Such Bid shall be declared the “Successful
                              Bid,” and such Qualified Bidder the “Successful Bidder,” at which point
                              the Auction will be closed. The Debtors shall notify the Qualified Bidders
                              of the Successful Bid within one business day following such selection.
                              The Auction shall not close unless and until all Qualified Bidders have
                              been given a reasonable opportunity to submit an Overbid at the Auction
                              to the then Prevailing Highest Bid. Such acceptance by the Debtors of the
                              Successful Bid is conditioned upon approval by the Bankruptcy Court of
                              the Successful Bid.

                        (b)   The Debtors shall not consider any Bids or Overbids submitted after the
                              conclusion of the Auction, and any such Bids or Overbids shall be deemed
                              untimely.

                        (c)   As soon as reasonably practicable after closing the Auction, the Debtors
                              shall cause the Qualified Bid Documents for the Successful Bid and
                              Backup Bid to be filed with the Bankruptcy Court.




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             e.         No Collusion; Good-Faith Offer.

         Each Qualified Bidder participating at the Auction will be required to confirm on the
record at the Auction that: (i) it has not engaged in any collusion with respect to the bidding; and
(ii) its Bid is a good-faith offer and it intends to consummate the Sale if selected as the
Successful Bidder. All Potential Bidders and all Qualified Bidders will immediately disclose to
the Debtors, the Committee, and the United States Trustee any discussions regarding
employment of or offers to retain or employ any officer or insider of the Debtors.

H.           Backup Bidder.

             a.         Notwithstanding anything in these Bidding Procedures to the contrary, if an
                        Auction is conducted, the Qualified Bidder with the next-highest or otherwise
                        second-best Bid at the Auction, as determined by the Debtors in the exercise of
                        their reasonable business judgment, in consultation with the Committee (the
                        “Backup Bid”), shall be required to serve as a backup bidder (the “Backup
                        Bidder”), and each Qualified Bidder shall agree and be deemed to agree to be the
                        Backup Bidder if so designated by the Debtors. The Stalking Horse Bidder shall
                        serve as a Backup Bidder only if (X) the Bid set forth in the Stalking Horse
                        Agreement is not determined to be the Baseline Bid (as defined herein), and
                        (Y) the Stalking Horse Bidder elects, in its sole discretion, to offer a higher and
                        better bid at the Auction. The Stalking Horse Bidder’s Bid described in the
                        Stalking Horse Agreement shall not be a Backup Bid absent the express consent
                        of the Stalking Horse Bidder.

             b.         The identity of the Backup Bidder and the amount and material terms of the
                        Backup Bid shall be announced by the Debtors at the conclusion of the Auction at
                        the same time the Debtors announce the identity of the Successful Bidder. The
                        Backup Bidder shall be required to keep its Bid (or if the Backup Bidder submits
                        one or more Overbids at the Auction, its final Overbid) open and irrevocable,
                        until the closing of the Sale with the Successful Bidder. The foregoing
                        notwithstanding, if the Stalking Horse Bidder serves as the Backup Bidder, its
                        Backup Bid shall expire on the earlier of closing on an Alternative Transaction
                        (defined below) or September 6, 2019. The Backup Bidder’s Deposit shall be
                        held in escrow until the closing of the transaction with the Successful Bidder and
                        shall thereafter be returned within five (5) business days.

             c.         If a Successful Bidder fails to consummate the approved transactions
                        contemplated by its Successful Bid, the Debtors, in consultation with the
                        Committee, may select the Backup Bidder as the Successful Bidder, and such
                        Backup Bidder shall be deemed a Successful Bidder for all purposes. The
                        Debtors will be authorized, but not required, to consummate all transactions
                        contemplated by the Backup Bid without further order of the Bankruptcy Court or
                        notice to any party. In such case, the defaulting Successful Bidder’s Deposit shall
                        be forfeited to the Debtors. The Debtors specifically reserve the right to seek all
                        available remedies against the defaulting Successful Bidder, including with
                        respect to specific performance.


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I.           Reservation of Rights.

        Without prejudice to the rights of the Stalking Horse Bidder under the terms the Stalking
Horse Sale Agreement, the Debtors reserve their rights, in consultation with the Committee, to
modify these Bidding Procedures in their reasonable business judgment in any manner that will
best promote the goals of the bidding process, or impose, at or prior to the Auction, additional
customary terms and conditions on the sale of the Residents Program Assets, including, without
limitation: (a) extending the deadlines set forth in these Bidding Procedures; (b) adjourning the
Auction at the Auction and/or adjourning the Sale Hearing in open court without further notice;
(c) adding procedural rules that are reasonably necessary or advisable under the circumstances
for conducting the Auction; (d) canceling the Auction; and (e) rejecting any or all bids or Bids.

J.           Sale Hearing.

       A hearing to consider approval of the Sale of the Residents Program Assets to the
Successful Bidder (or to approve the Stalking Horse Agreement if no Auction is held) (the “Sale
Hearing”) is currently scheduled to take place on August 9, 2019, at 11:00 a.m. (ET) before the
Honorable Kevin Gross, at the United States Bankruptcy Court, 824 Market Street, 6th Floor,
Courtroom No. 3, Wilmington, Delaware 19801.

       The Sale Hearing may be continued to a later date by the Debtors, in consultation
with the Committee, by sending notice prior to, or making an announcement at, the Sale
Hearing. No further notice of any such continuance will be required to be provided to any
party (including the Stalking Horse Bidder). The foregoing notwithstanding, if the Sale
Hearing is continued without the consent of the Stalking Horse, the Stalking Horse may
terminate the Stalking Horse Agreement.

       At the Sale Hearing, the Debtors shall present the Successful Bid to the Bankruptcy Court
for approval.

K.           Break-Up Fee.

       To provide an incentive and to compensate the Stalking Horse Bidder for performing the
substantial due diligence and incurring the expenses necessary and entering into a Stalking Horse
Sale Agreement with the knowledge and risk that arises from participating in the sale and
subsequent bidding process, the Debtors have agreed to pay the Stalking Horse Bidder, under the
conditions set forth in the Bidding Procedures Order, a break-up fee in the amount of $225,000
(the “Breakup Fee”).

        The Break-Up fee, to the extent owed by the Debtors, (a) shall be an allowed
administrative expense claim under section 503(b) and 507 of the Bankruptcy Code and a direct
cost of any such Sale; (b) shall be payable at closing on of a Sale to a purchaser other than the
Stalking Horse Bidder (an “Alternative Transaction”)without further order of the Court; and (c)
shall be payable solely from the proceeds of such Alternative Transaction. No Interests shall
attach to the proceeds of any such Alternative Transaction equal to the amounts owed to the
Stalking Horse Bidder on account of the Break-Up Fee.



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L.           Return of Deposit.

        The Deposit of the Successful Bidder shall be applied to the Purchase Price of the
transaction at closing. The Deposits for each Qualified Bidder shall be held in one or more
interest-bearing escrow accounts on terms acceptable to the Debtors, in consultation with the
Committee, and shall be returned (other than with respect to the Successful Bidder and the
Backup Bidder) on or within five (5) business days after the Auction. The Stalking Horse Bidder
shall not be required to provide a Deposit.

       If the Successful Bidder fails to consummate the Sale because of a breach by the
Successful Bidder, the Debtors will not have any obligation to return the Deposit deposited by
the Successful Bidder, which may be retained by the Debtors as liquidated damages, in addition
to any and all rights, remedies, or causes of action that may be available to the Debtors, and the
Debtors shall be free to consummate the Sale with the Backup Bidder without the need for an
additional hearing or order of the Bankruptcy Court.

M.           Fiduciary Out.

        Nothing in these Bidding Procedures shall require the Debtors’ board of managers to take
any action, or to refrain from taking any action, with respect to these Bidding Procedures prior to
the commencement of the Auction if the Debtors’ board of managers determines, based on the
advice of counsel, that taking such action, or refraining from taking such action, as the case may
be, is required to comply with applicable law or the board’s fiduciary obligations thereunder;
provided that, in the event the Debtors’ board of managers determines to take any action, or
refrain from taking any action, pursuant to this paragraph, without the consent of the Stalking
Horse Bidder, the Stalking Horse Bidder may, but shall not be required to, terminate the Stalking
Horse Agreement if taking such action or refraining from taking such action, as the case may be,
would otherwise be grounds for termination under the Stalking Horse Agreement, it being
understood that any material modification to the Bid Procedures without the consent of the
Stalking Horse would be a breach of the Stalking Horse Agreement pursuant to which the
Stalking Horse would have the right to terminate the Stalking Horse Agreement.




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